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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

WOODBRIDGE GROUP OF COMPANIES                                    Case No. 17-12560 (KJC)
LLC, et al., 1
                                                                 (Jointly Administered)

                            Debtors.



              SUPPLEMENTAL DECLARATION OF LAWRENCE R. PERKINS

         I, Lawrence R. Perkins, hereby declare under penalty of perjury, pursuant to section 1746

of title 28 of the United States Code, as follows:

         1.       I am CEO and Founder of SierraConstellation Partners, LLC (“SCP”),

headquartered at 400 South Hope Street, Suite 1050, Los Angeles, California, 90071, and the

Chief Restructuring Officer of WGC Independent Manager LLC, a Delaware limited liability

company (“WGC Independent Manager”), which is the sole manager of debtor Woodbridge

Group of Companies, LLC, a Delaware limited liability company and an affiliate of each of the

above-captioned debtors and debtors in possession (each, a “Debtor” and collectively, the

“Debtors”). The sole manager of WGC Independent Manager is Beilinson Advisory Group,

LLC, a Delaware limited liability company (the “Independent Manager”). The Debtors’

management structure is further described in the Declaration of Lawrence R. Perkins in Support




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         The last four digits of Woodbridge Group of Companies, LLC’s federal tax identification number are 3603.
The mailing address for Woodbridge Group of Companies, LLC is 14225 Ventura Boulevard #100, Sherman Oaks,
California 91423. Due to the large number of debtors in these cases, for which the Debtors have requested joint
administration, a complete list of the Debtors, the last four digits of their federal tax identification numbers, and their
addresses are not provided herein. A complete list of such information may be obtained on the website of the
Debtors’ proposed noticing and claims agent at www.gardencitygroup.com/cases/WGC, or by contacting the
proposed counsel for the Debtors.
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of the Debtors’ Chapter 11 Petitions and Requests First Day Relief (the “First Day Declaration”)

(ECF No. 12). 2

        2.       I submit this supplemental declaration (this “Supplemental Declaration”) to

update the Bankruptcy Court and interested parties regarding a recent amendment to the

operating agreement of WGC Independent Manager, which amendment provides that the

Independent Manager may only be removed upon a finding of cause by the Bankruptcy Court.

All facts set forth in this Supplemental Declaration are based upon my personal knowledge of the

Debtors’ operations, information learned from my review of relevant documents, and

consultation with the Independent Manager and the Debtors’ professional advisors. I am

authorized to submit this Supplemental Declaration on behalf of the Debtors and, if called upon

to testify, I could and would testify competently to the facts set forth herein.

        3.       As further described in the First Day Declaration, on December 1, 2017, pursuant

to the Management Consent, Robert Shapiro, as Trustee of RS Protection Trust, removed himself

and his affiliates as manager of certain of the Debtors and appointed the Independent Manager as

replacement manager. See First Day Declaration, Ex. F, ECF 12 at 91. In connection with the

execution of the Management Consent, Mr. Shapiro and the Independent Manager executed that

certain Limited Liability Company Agreement of WGC Independent Manager LLC (the

“Operating Agreement”). Id. at 118 (Ex. A to Management Consent). Section 15(b) of the

Operating Agreement provided that RS Protection Trust could remove the Independent Manager

without cause on at least ten business days’ prior notice to the Bankruptcy Court. Id. at 121.

        4.       At the December 5, 2017 hearing before the Bankruptcy Court at which the

Bankruptcy Court considered the Debtors’ requests for first-day relief (the “First Day Hearing”),

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       Capitalized terms used but not defined herein shall have the meanings assigned to such terms in the First
Day Declaration.



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the United States Securities and Exchange Commission (“SEC”) raised concerns regarding the

provision of the Operating Agreement purportedly allowing Mr. Shapiro to remove the

Independent Manager without cause. The Debtors had contacted the SEC on the Petition Date,

seeking to arrange a meeting to apprise them of the contemplated restructuring and to address

any concerns. After the First Day Hearing, the SEC agreed to meet with certain of the Debtors’

advisors on December 7, 2017 to discuss the SEC’s concerns. Following this meeting, the

Independent Manager demanded that Mr. Shapiro amend the Operating Agreement to eliminate

any purported right to remove the Independent Manager without a showing of cause and an order

of the Bankruptcy Court. Mr. Shapiro agreed.

       5.      Accordingly, on December 8, 2017, WGC Independent Manager and RS

Protection Trust entered into that certain Amendment No. 1 to the Limited Liability Company

Agreement of WGC Independent Manager LLC (the “First Amendment”). A true and correct

copy of the First Amendment is attached hereto as Exhibit A. The First Amendment amends

section 15(b) of the Operating Agreement, providing that notwithstanding anything to the

contrary therein, until the occurrence of a Termination Event (as defined therein), the

Independent Manager may only be removed at the request of RS Protection Trust following a

finding by the Bankruptcy Court that, “among other things, ‘cause,’ as defined in Section

1112(b)(4) of the Bankruptcy Code or cases interpreting that section, exists to remove the

Manager.”

       6.      I believe that the changes made through the First Amendment have further

bolstered the independence of the Independent Manager. The Debtors remain committed to

addressing outstanding concerns of all of the Debtors’ constituents to implement a successful

reorganization that is in the best interests of all the Debtors’ stakeholders.




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct to the best of my knowledge, information, and belief.



Dated: December 15, 2017
                                                      Lawrence R. Perkins
                                                      CEO & Founder
                                                      SierraConstellation Partners LLC




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                            Exhibit A

First Amendment to WGC Independent Manager LLC Operating Agreement
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